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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                            (S4) 23-Cr-490 (SHS)

                  -v-

ROBERT MENENDEZ, NADINE MENENDEZ,                                    ORDER
WAEL HANA, and FRED DAIBES,

                                   Defendants.
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SIDNEY H. STEIN, U.S. District Judge.

        The Court will hold a hearing pursuant to United States v. Curcio, 680 F.2d 881 (2d Cir.
1982), to address Nadine Menendez's attorneys ' potential conflicts of interest on Thursday,
March 21, at 11 :30 a.m. in courtroom 23A.


Dated: New York, New York
       March 19, 2024

                                                     SO ORDERED:



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